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-v- 05-10013-01-T WD 55 /',} CQ/:?g}j
KS

KE|TH LEE MC|NTYRE
Steghen B. Shankmanl FPD
Defense Attorney
200 Jefferson Avenue, Ste. 200
Memphls, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Commltted On or After November1, 1987)

The defendant pleaded guilty to the One (1)Count Information on January 27, 2005.

According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count

Title & Section NL'~L|MQUM Conc|uded Number¢s[
18 U.S.C. § 1344 Bank Fraud 05/01/2001 1

The defendant is sentenced as provided in the fo|fowing pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant's Date of Birth: 08/03/1967 May 05, 2005
Deft’s U.S. l\/larshal No.: 19937-076

Defendant's Mailing Address:
2873 O|d |V|edina Road
Jackson, TN 38305

 

cl-ll uNlTEo sTATEs olsTRlcT JuocE

Thls document entered on the docket sheet tn oompll§ance May l 2005
with Rule 55 and,'or 32(1:) FFtCrP on

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 1 day; followed by 6 months home detention.

The Court recommends to the Bureau of Prisons:

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the Probation or Pretria| Services Office.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised releasel the defendant shall not commit another federal, state
or local crime and shall not possess a nrearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the drst five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase. possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphemalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;The defendant shall not associate with any persons engaged in criminal
activity. and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation omcer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or charactenstics, and shall permit
the probation officer to make such notincations and to confirm the defendant's compliance with such
notification requirementl

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of 6 months
Days. During this time, defendant will remain at defendant's place of residence except for
employment and other activities approved in advance by the defendant's Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District of Tennessee. which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Ofticer. Furtherl the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Oflice’s Sliding Scale for Electronic Monitoring Services.

2. The defendant shall participate in a mental health treatment program as directed by the
probation officer.

3. The defendant is expressly prohibited from employment in any position which involves
fiduciary responsibilities

4. The defendant shall provide the Probation Officer access to any requested financial
information.

5. The defendant shall not incur new credit charges or open any additional lines of credit
without the permission of the U. S. Probation Ofticer, while any portion of the fine remains
unpaid.

6. The defendant shall assist the Probation Office in the collection of DNA, as directed by the
probation oftice.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $25,896.09

The Special Assessment shall be due immediate|y.
FlNE
No fine imposed.
RESTlTUTlON

Restitution in the amount of $25,896.09 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name of Pa!ee of Loss Rest|tutlon Ordered of Payment
John Bruno, President/CEO $25.896.09
Community Choice Financia|
Services

5200 Mary|and Way, Ste. 510
Brentwood, TN 37027

The restitution shall be paid in monthly installments equal to ten (10%) of defendant's total
gross monthly household income from all sources. The defendant shall be required to regularly

furnish proof of his gross monthly household income, upon which the amount of monthly payments
shall be based, to the U. S. Probation Oflice.

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenrvise in the priority order or percentage payment
column above.

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The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CR-100]3 Was distributed by faX, mail, or direct printing on
May ]0, 2005 to the parties listed.

 

 

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Stephen B. Shankman

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

